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 9

10                          UNITED STATES DISTRICT COURT

11                FOR THE CENTRAL DISTRICT OF CALIFORNIA

12                                     SOUTHERN DIVISION

13

14
     JOHN BAI, individually, and on behalf of       Case No. 8:21-cv-502
15 all others similarly situated,

16                        Plaintiff,                DEFENDANT OUTDOORSY,
                                                    INC.’S NOTICE OF REMOVAL
17            -against-
18 OUTDOORSY, INC., and DOES 1-20,
     inclusive,
19
                          Defendant.
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                                                                           Case No: 8:21-cv-502
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 1 TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE

 2 CENTRAL DISTRICT OF CALIFORNIA:

 3             PLEASE TAKE NOTICE that Defendant Outdoorsy, Inc. (“Outdoorsy”)
 4 hereby removes this action from the Superior Court in the State of California for the

 5 County of Orange to the United States District Court for the Central District of

 6 California, Southern Division, pursuant to 28 U.S.C. §§ 1332, 1446, and 1453. This

 7 action is a purported class action where the named plaintiff and defendant are

 8 citizens of different states, the purported class contains over 100 members, and the

 9 amount in controversy would exceed $5 million. In accordance with 28 U.S.C.

10 §1446(a), set forth below is a statement of the grounds for removal.

11 I.     THE COMPLAINT AND STATE COURT PROCEEDINGS
12        1.      Outdoorsy is an online marketplace that helps connect owners of RVs,
13 motorhomes and campervans with people and families wanting to rent them. Almost

14 two years after a renter purportedly damaged Plaintiff’s RV, Plaintiff filed this

15 putative class action falsely claiming that Outdoorsy failed to disclose the terms of

16 insurance offered through its website and demanding millions of dollars. In actuality,

17 Plaintiff repeatedly saw and agreed to the insurance terms as a precondition to using

18 Outdoorsy’s website. He also ignored an explicit warning banner that Outdoorsy

19 posted on his account page alerting him that he was renting his RV to an underaged

20 driver in violation of the terms of service, and thus insurance would not apply. As he

21 is also aware, Plaintiff executed an arbitration agreement with Outdoorsy, which

22 Outdoorsy will ask this Court to enforce. In sum, this case was improperly filed in

23 state court in bad faith to vex, harass and extort Outdoorsy, and provides a

24 paradigmatic example of the abusive type of putative class action that the Class

25 Action Fairness Act (“CAFA”) was designed to address.

26        2.      On February 16, 2021, Plaintiff John Bai filed an action against
27 Outdoorsy, entitled John Bai v. Outdoorsy Inc., Case No. 30-2021-01184026-CU-

28 NP-CXC, in the Superior Court in the State of California for the County of Orange.

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 1         3.     Service of the Complaint was effectuated on or about February 23,
 2 2021. True and correct copies of the Complaint and Summons are attached as

 3 Exhibit A.

 4 II.     JURISDICTION AND VENUE
 5         4.     As is set forth below, this is a civil action over which this Court has
 6 jurisdiction pursuant to 28 U.S.C. § 1332(d) (pursuant to the Class Action Fairness

 7 Act).

 8         5.     This action may be removed to this Court pursuant to the provisions of
 9 28 U.S.C. §§ 1446 and 1453, as (1) it is a “civil action filed under Rule 23 of the

10 Federal Rules of Civil Procedure or similar State statute or rule of judicial procedure

11 authorizing an action to be brought by 1 or more representative persons;” (2) the

12 purported class action contains over 100 class members; (3) the amount in

13 controversy sought by Plaintiff exceeds the sum of $5 million; and (4) at least one

14 plaintiff is diverse from at least one defendant.

15         6.     Venue is proper in this Court because this Court embraces the County of
16 Orange where the underlying state court action was filed. 28 U.S.C. § 1441(a).

17 III.    JURISDICTION OVER THIS ACTION EXISTS PURSUANT TO THE
           CLASS FAIRNESS ACT
18
           7.     Jurisdiction pursuant to the Class Fairness Act (“CAFA”) exists over
19
     (1) purported class actions, or “civil action[s] filed under Rule 23 of the Federal
20
     Rules of Civil Procedure or similar State statute or rule of judicial procedure
21
     authorizing an action to be brought by 1 or more representative persons;” (2) the
22
     purported class action contains over 100 class members; (3) the amount in
23
     controversy sought by Plaintiff exceeds the sum of $5 million; and (4) a member of a
24
     class of plaintiffs is a citizen of a State and a defendant is a foreign state or a citizen
25
     or subject of a foreign state OR (5) a member of the purported class of plaintiffs is a
26
     citizen of a State different from any defendant. See 28 U.S.C. § 1332(d)(2).
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 1        A.     This Case Is A Purported Class Action
 2        8.     Jurisdiction under CAFA requires that the action be a putative class
 3 action. See 28 U.S.C. § 1332(d)(2). This case meets that requirement. (Compl. ¶ 1

 4 (“Plaintiff brings this class action Complaint against Defendant OUTDOORSY, INC.

 5 . . . to obtain redress for a California class of consumers (‘Class Members’) who

 6 changed position, within the applicable statute of limitations period, as a result of

 7 Defendant’s deceptive business practices.”); see also id. at ¶ 18 (“This class action is

 8 brought pursuant to California Code of Civil Procedure § 382”).

 9        B.     The Purported Class Contains Over 100 Class Members
10        9.     Jurisdiction under CAFA requires that the purported class action contain
11 over 100 class members. See 28 U.S.C. § 1332(d)(5)(B). As detailed in the

12 declaration of Richard Sanders, an attorney and the Chair of Outdoorsy’s Advisory

13 Board, Outdoorsy has had thousands of customers in California in the past four years

14 who have rented out their vehicles using Outdoorsy’s service; the vast majority of

15 these bookings include the purchase of a “Protection Package” which, among other

16 things, provides insurance for rentals where, among other requirements, the driver is

17 “verified” under Outdoorsy’s terms and conditions. (Declaration of Richard Sanders

18 (“Sanders Decl.”) ¶ 4.)

19        C.     The Amount in Controversy Exceeds $5,000,000
20        10.    The amount in controversy is based on the relief a plaintiff theoretically
21 could obtain if he was successful on all his claims. Campbell v. Vitran Exp., Inc. 471

22 F. App’x 646, 648 (9th Cir. 2012). For purposes of 28 U.S.C. § 1332(d)(6), the

23 claims of the individual class members shall be aggregated to determine whether the

24 matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest

25 and costs.

26        11.    Pursuant to Supreme Court and Ninth Circuit case law, a notice of
27 removal pursuant to CAFA need include only a plausible allegation that the amount

28 in controversy exceeds the jurisdictional threshold. Dart Cherokee Basin Operating

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 1 Co., LLC v. Owens, 135 S. Ct. 547, 551, 553-54 (2014); Salter v. Quality Carriers,

 2 Inc., 974 F.3d 959, 964 (9th Cir. 2020) (holding that “defendant’s notice of removal

 3 [pursuant to CAFA] ‘need not contain evidentiary submissions’ but only plausible

 4 allegations of jurisdictional elements”) (internal quotation marks omitted).

 5        12.    Here, Plaintiff’s own pleading shows that the amount of damages and
 6 restitution he seeks exceeds the $5,000,000 threshold. (Complaint ¶¶ 3, 17; Prayer

 7 For Relief ¶¶ d-h).

 8        13.    Plaintiff alleges that as a result of the complained of actions, “Defendant
 9 misrepresented and falsely advertised to Plaintiff and other similarly situated

10 consumers that any damage caused to their vehicles would be covered by insurance,

11 when it had no intention of honoring claims by vehicle owners for damage caused by

12 renters.” (Compl. ¶ 3.) He seeks “(d) An order requiring Defendant to engage in

13 corrective advertising regarding the conduct discussed above; (e) Actual damages

14 suffered by Plaintiff and Class Members as applicable or full restitution of all funds

15 acquired from Plaintiff and Class Members from the deceptive practices described

16 herein during the relevant class period; (f) Punitive damages, as allowable, in an

17 amount determined by the Court or jury; (g) All reasonable and necessary attorneys’

18 fees and costs provided by statute, common law or the Court’s inherent power; (h)

19 Pre- and post-judgment interest.” (Prayer For Relief ¶¶ d-h.)

20        14.    Plaintiff defines the purported class for which he seeks damages and
21 restitution, as follows: “a California class of consumers (‘Class Members’) who

22 changed position, within the applicable statute of limitations period, as a result of

23 Defendant’s deceptive business practices” and alleges that “Defendant’s

24 misrepresentations to Plaintiff and others similarly situated induced them to rent their

25 vehicles through Defendant’s website, which Plaintiff and others similarly situated

26 would not have done absent these misrepresentations by Defendant and its

27 employees. (Compl. ¶¶ 1, 5.) The statute of limitations for actions brought under

28 California Business and Professions Code § 17200 is “[a]ny action to enforce any

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 1 cause of action pursuant to [the UCL] shall be commenced within four years after the

 2 cause of action accrued.” Cal. Bus. & Prof. Code § 17208. The class thus purports

 3 to include any Outdoorsy customer who rented out their vehicle within four years of

 4 the filing of the Complaint, or February 16, 2017.

 5        15.    While Outdoorsy denies the allegations set forth in the Complaint and
 6 maintains that Plaintiff is subject to sanctions for filing this false and abusive lawsuit,

 7 in determining the amount in controversy, “a court must assume that the allegations

 8 in the complaint are true and assume that a jury will return a verdict for the plaintiff

 9 on all claims made in the complaint.” Campbell, 471 F. App’x at 648 (citing Kenneth

10 Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993,1001 (C.D.

11 Cal. 2002)); see also Ibarra v. Manheim Invs., Inc., 775 F.3d 1193, 1198 (9th Cir.

12 2015) (“Even when defendants have persuaded a court upon a CAFA removal that

13 the amount in controversy exceeds $5 million, they are still free to challenge the

14 actual amount of damages in subsequent proceedings and at trial. This is so because

15 they are not stipulating to damages suffered, but only estimating the damages that are

16 in controversy.”).

17        16.    Were Plaintiff to succeed on these claims, Outdoorsy may be required to
18 disgorge the total value of the bookings made in California for the four-year period

19 preceding the filing of the Complaint. The total amount of this reimbursement would

20 significantly exceed $5 million. (Sanders Decl. ¶ 4.) In addition, the injunctive relief

21 may require Outdoorsy to renegotiate its insurance contracts, which could result in

22 millions of dollars of costs to Outdoorsy. (Sanders Decl. ¶ 5.)

23        17.    First, for the last four years, thousands of customers in California have
24 rented out their vehicles using Outdoorsy. The vast majority of these bookings

25 include the purchase of Outdoorsy’s “Protection Package,” which, among other

26 things, provides insurance for qualified transactions. These bookings represent over

27 $5,000,000 during that period. (Sanders Decl. ¶ 4.) Were Outdoorsy required to

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 1 disgorge such amounts for the four-year putative class period, as Plaintiff seeks, that

 2 sum alone would satisfy the amount in controversy. (Sanders Decl. ¶ 4.)

 3        18.    Second, the Complaint seeks injunctive relief. Since the Terms &
 4 Conditions of use that Plaintiff agreed to are already posted on Outdoorsy’s website,

 5 and must be expressly agreed to before anyone can use the website, Plaintiff must be

 6 seeking an injunction requiring Outdoorsy to provide insurance to every owner who

 7 wants to rent out their RV, regardless of the owner’s or renter’s qualifications.

 8 (Compl. ¶ 9.) The cost of complying with non-monetary relief is also included in the

 9 amount in controversy in a CAFA action. Tuong Hoang v. Supervalu Inc., 541 F.

10 App’x 747, 748 (9th Cir. 2013) (“The value of the requested injunction against

11 Defendants would not be ‘recovered’ by Plaintiffs yet the value of such an injunction

12 is part of the amount that has been put in controversy by Plaintiffs’ complaint.”);

13 Cohn v. Petsmart, Inc., 281 F.3d 837, 840 (9th Cir. 2002); In re Ford Motor

14 Co./Citibank (South Dakota), N.A., 264 F.3d 952, 958 (9th Cir. 2001) (costs of

15 complying with an injunction may be considered in measuring the amount in

16 controversy); Biendara v. RCI, LLC, No. SACV101878AGMLGX, 2011 WL

17 13137567, at *6 (C.D. Cal. Jan. 24, 2011) (denying motion to remand to state court

18 where injunctive relief would result in “added value for Plaintiff and lost profits to

19 Defendant, perhaps continuing indefinitely into the future, show that the requested

20 injunctive relief is highly valuable and therefore also boosts the amount in

21 controversy above $5 million.”).

22        19.    Here, to provide insurance for transactions where, for example, drivers
23 do not have valid licenses, are underaged, or have other conditions that disqualify

24 them for normal insurance or in violation of Outdoorsy’s terms and conditions, as

25 Plaintiff seeks to require, would separately cost millions, if not tens of millions, of

26 dollars, to the extent such insurance is even available. (Sanders Decl. ¶ 4.) That is a

27 separate and independent reason why the amount in controversy is satisfied.

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 1         20.      Third, Plaintiff also seeks “[a]ll reasonable and necessary attorneys’
 2 fees and costs provided by statute, common law or the Court’s inherent power”

 3 (Prayer for Relief, ¶ g). This further adds to the total amount in controversy. See

 4 Cal. Bus. and Prof. Code § 17200, California Code of Civil Procedure § 1021.5.

 5 Fritsch v. Swift Transportation Co. of Arizona, LLC, 899 F.3d 785, 794 (9th Cir.

 6 2018) (holding that future attorneys’ fees can be included in the amount in

 7 controversy requirement when they are authorized by statute).

 8         21.      In sum, taken separately, and especially taken together, the amount of
 9 damages sought, the costliness of the injunctive relief, and the potential punitive

10 damages and attorney’s fees easily satisfy the amount in controversy under CAFA.

11         D.       Plaintiff Is a Citizen of California and Outdoorsy Is a Citizen of
                    Texas
12
           22.      CAFA jurisdiction requires that “any member of a class of plaintiffs is a
13
     citizen of a State and any defendant is a foreign state or a citizen or subject of a
14
     foreign state.” 28 U.S.C. § 1332(d)(2)(c).
15
           23.      CAFA also grants jurisdiction where “any member of a class of
16
     plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C. §
17
     1332(d)(2)(A); Broadway Grill, Inc. v. Visa Inc., 856 F.3d 1274, 1276 (9th Cir.
18
     2017) (“Under CAFA there is sufficient diversity to establish federal diversity
19
     jurisdiction so long as one class member has citizenship diverse from that of one
20
     defendant.”)
21
           24.      A natural person has the citizenship of the place of his domicile. Kanto
22
     v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983). Corporate parties
23
     can have the citizenship of the state of incorporation and the citizenship of the state
24
     of its principal place of business. 28 U.S.C. § 1332(c)(1); Bank of Calif. Nat’l Ass’n
25
     v. Twin Harbors Lumber Co., 465 F.2d 489, 491-92 (9th Cir. 1972).
26
           25.      Here, Plaintiff alleges that he is a citizen of the State of California.
27
     (Complaint ¶ 20.)
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 1        26.    Defendant Outdoorsy is a Delaware corporation with its principal place
 2 of business in Austin, Texas. (Complaint ¶ 2, 21); (Sanders Decl. ¶ 2.)

 3        27.    Therefore, the suit is both (1) between a member of a class of plaintiffs
 4 who is a citizen of a State and a defendant a citizen or subject of a foreign state and

 5 (2) a suit where a member of the purported class of plaintiffs is a citizen of a State

 6 different from any defendant.

 7        E.     All Procedural Requirements are Satisfied
 8        28.    28 U.S.C. § 1441(a) allows civil actions brought in state court to be
 9 removed to the district court “embracing the place where such action is pending.”

10 The Complaint was filed in the Superior Court of California for the County of

11 Orange. This District is the proper venue for this action upon removal pursuant to 28

12 U.S.C. § 1441(a) because it is the District that embraces the county where the state

13 court action was pending.

14        29.    Pursuant to 28 U.S.C. § 1446(b)(1), this Notice of Removal is timely.
15 Outdoorsy became aware of the lawsuit when it was served with the Complaint on

16 February 16, 2021. Notice of Removal must be filed on or before March 18, 2021.

17        30.    Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and
18 orders from state court are attached hereto as Exhibit B.

19        31.    Defendants will serve written notice of the removal of this action upon
20 all parties and will file such notice with the Clerk of the Superior Court of California

21 for the County of Orange.

22                                       CONCLUSION
23        WHEREFORE, Defendant Outdoorsy hereby removes this case from the
24 California Superior Court for the County of Orange to this Court.

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  1
      Dated: March 17, 2021                          Respectfully Submitted,

  2
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      Outdoorsy, Inc.
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  9                           UNITED STATES DISTRICT COURT
 10                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11                                      SOUTHERN DIVISION
 12

 13 JOHN BAI, individually, and on behalf of          Case No.
      all others similarly situated,
 14
                            Plaintiff,                DECLARATION OF RICHARD
 15                                                   SANDERS IN SUPPORT OF
                -against-                             DEFENDANT OUTDOORSY,
 16                                                   INC.’S NOTICE OF REMOVAL
    OUTDOORSY, INC., and DOES 1-20,
 17 inclusive,

 18              Defendant.

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  1        I, Richard Sanders, declare:
  2        1.      I am the Chair of the Advisory Board of Defendant Outdoorsy, Inc.,
  3 (“Outdoorsy”). I make this declaration on personal knowledge. If called as a witness,

  4 I could, and would, testify competently to the facts stated herein.

  5        2.      Outdoorsy is a Delaware corporation with its principal place of business
  6 in Austin, Texas.

  7        3.      In my role as Chair of the Advisory Board, I have personal knowledge
  8 of the number of Outdoorsy customers in California, including the number of

  9 Outdoorsy customers who have offered their vehicles for rent on the site and the

 10 number of California bookings on the site. In my role as Chair of the Advisory

 11 Board, I also have personal knowledge of the number of Outdoorsy bookings which

 12 include the purchase of “Protection Packages,” which provide insurance under

 13 Outdoorsy’s insurance policy.

 14        4.      Plaintiff’s claims are meritless and we intend to vigorously defend the
 15 quality and reputation of our service. If the claims were somehow successful,

 16 however, the damages and restitution sought and the cost of the demanded injunctive

 17 relief would far exceed $5 million:

 18             a. Users in California. Outdoorsy has had tens of thousands of customers
 19                in California since March 2017, including thousands of users who have
 20                rented out their vehicles through the site.
 21             b. Insurance Figures. During this time period, the vast majority of
 22                Outdoorsy bookings in California included purchase of a “Protection
 23                Package” which, among other things, provides insurance for rentals
 24                where, among other requirements, the driver is “verified” under
 25                Outdoorsy’s terms and conditions.
 26             c. Value of Bookings. The value of the bookings made in California in
 27                which the renter purchased the Protection Package greatly exceeds $5
 28                million. Should the Court require further substantiation of the amount in

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  1              controversy, Outdoorsy can provide additional information
  2              about the value of bookings under seal.
  3           d. Renegotiating Insurance. If Outdoorsy were required to provide
  4              insurance for drivers who do not have valid licenses or have other
  5              conditions that disqualify them for normal insurance, as Plaintiff seeks
  6              to require, would separately cost millions, if not tens of millions, of
  7              dollars, to the extent such insurance is even available.
  8        I declare under penalty of perjury under the laws of the United States that the
  9 foregoing is true and correct to the best of my knowledge.

 10

 11 Dated: March 17, 2021
                                                  _____________________________
 12                                                    Richard Sanders
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